Case 3:24-cv-00103-ART-CLB Document 43-7 Filed 03/28/25 Page1of7

EXHIBIT C

lo

4)/UNITED STATES DISTRICT COURT
s || DISTRICT OF NEVADA

DREW J. RIBAR,
g || Plaintiff,

v.
STATE OF NEVADA ex rel. NEVADA DEPARTMENT OF CORRECTIONS; CARSON
CITY; DEPUTY JASON BUENO, in his individual and official capacity; WARDEN
FERNANDEIS FRAZIER; SGT. ROBERT SMITH; et al.,

14 |} Defendants.

Case No.: 3:24-ev-00103-ART-CLB

Plaintiff: Drew J. Ribar, pro se
Address: 3480 Pershing Ln., Washoe Valley, NV 89704
37 || Phone: (775) 223-7899

23 |) Emaik: Const2Audit@gmail.com

7 || = EXHIBIT C

PLEADING TITLE - 1

Case 3:24-cv-00103-ART-CLB Document 43-7 Filed 03/28/25 Page 2 of 7

| || Video Footage — Deputy Jason Bueno Body-Worn Camera

ty

Filed in Support of Plaintiff's Amended Complaint and Motion for Summary Judgment

Under Fed. R. Civ. P. 56

7 || SUMMARY JUDGMENT RELEVANCE

9 || Pursuant to Fed. R. Civ. P. 56(a), this exhibit provides undisputed material evidence of

10 Defendants’ violations of Plaintiff's rights under:
1]
12 ¢ U.S. Constitution: Amendments |, 1V, VII, XIV
IS * Nevada Constitution: Article 1, §§ 1, 6, 8.9, 18
" ¢ Federal Law: 42 U.S.C. § 1983: [8 U.S.C. §§ 241-242
15
16 « Nevada Statutes: NRS 171.1233, 197.200, 199.310, 200.460, 200.310, 200.481.
17 200.471, 207.190, 205.2715, 205.220
18
9 This exhibit complements Exhibits A and B, proving:
20
1. Retaliation for recording in public (Fordyce v. Seattle, 55 F.3d 436 (9th Cir. 1995);
2|
55 Turner v. Driver, 848 F.3d 678 (5th Cir. 2017))
43 2. Unlawful arrest without probable cause (Manuel v. City of Joliet. 137 8. Ct. 911 (2017):
24 Thompson v. Clark, 596 U.S. 36 (2022))
5 3. Cruel conditions via heat exposure (Hope v. Pelzer, 536 U.S. 730 (2002); Farmer v.
: Brennan, 511 U.S. 825 (1994))
27
4 4. Due process violations via property seizure (Mathews v. Eldridge, 424 U.S. 319 (1976))

PLEADING TITLE - 2

Case 3:24-cv-00103-ART-CLB Document 43-7 Filed 03/28/25 Page 3of7

5. Municipal liability for policy/custom (Monell v. Dep't of Soc. Servs., 436 U.S, 638
>

~ (1978))

3

4

5

6 || DESCRIPTION

4

8 e Video Recording: 37 minutes, | second of body-worn camera footage from Deputy
9 Jason Bueno, recorded August 30, 2022, at Northern Nevada Correctional Center
10 (NNCC), obtained via discovery in criminal case No. 22 CR 01231 1C (dismissed by
II

order dated [insert date if known])

12

B « Format: Submitted on USB per Local Rule IC 2-2, with Notice of Manual Filing
I4

15

© 1/ KEY LEGAL VIOLATIONS AND SUPPORTING EVIDENCE

17

8 Timestamp Incident Summary Legal Relevance

19
40 Set. Smith: "Notified deputies" First Amendment retaliation (Gilik v. Cunniffe,
a, || 0:01:10 for "exercising his First 655 F.3d 78 (Ist Car. 2011); Fields v. City of
22 Amendment rights." Philadelphia, 862 F.3d 353 (3d Cir. 2017))
23

Sgt. Smith: "No ‘no No probable cause (Hiibel vy. Sixth Judicial Dist.
24 |] 0:01:29
trespassing” signs up." C1, 542 U.S. 177 (2004); NRS 207.200)
25
% Sgt. Smith: "This is a public — Public forum; arrest invalid (Reed v. Town of
0:01:37
27 roadway, which it is." Gilbert. 576 US. 155 (2015))
28
PLEADING TITLE - 3

Case 3:24-cv-00103-ART-CLB Document 43-7 Filed 03/28/25 Page 4of7

Timestamp Incident Summary Legal Relevance
2
Pretextual intent: Monell custom (Whren v.
3 |} 0:02:03 Set. Smith: "We want it gone.”
4 United States, 517 U.S, 806 (1996))
5 |} 0:03:34— Bueno arrives; Frazier: No warning: Fourth Amendment (Jerry v. Ohio,
® 1] 0:03:49 "T'respassing... remove him." 392 U.S. 1 (1968))
7
Bueno: "Put your hands behind Unlawful seizure (Manuel v. City of Joliet, supra;
8 |] 0:04:13
9 your back." NRS 200.460)
10 Bueno: "You're being arrested
I 0:05:11 False arrest (Thompson v. Clark, supra)
for trespassing."
12
3 0:05:19— AC hose redirects air: Plaintiff Eighth Amendment (Hope v. Pelzer, supra;
14 || 0:05:37 in back, no seatbelt, dry shirt. Youngberg v. Romeo, 457 U.S. 307 (1982))
5 Due process violation (Muthews v. Eldridge,
16 || 9:96:30 "Tow his truck."
supra; NRS 205.2715)
17
ig "Definitely not take photos or Retaliation (Turner v. Driver. supra; NRS
0:07:14
19 whatever.” 171.1233)
70 Deliberate indifference (Estelle v. Gamble, 429
31 || 0:07:56 AC hose to driver's seat.
U.S. 97 (1976))
22
53 Viewpoint discrimination (Reed vy. Town of
“11 0:08:13 Frazier: "Advocacy groups.”
24 Gilbert, supra)
25 . .
0:10:21- Window closed, cutting
% Cruel conditions (farmer v. Brennan, supra)
0:10:28 airflow.
27
28
PLEADING TITLE - 4

to

Case 3:24-cv-00103-ART-CLB Document 43-7 Filed 03/28/25 Page 5of7

Timestamp

0:13:12--

0:13:23

0:15:43

0:24:55—

0:32:36

0:33:34

0:34:45

0:34:5]

0:36:02

0:37:01

Incident Summary Legal Relevance

Bueno/Frazier: Audit intent, no Retaliation (Irizarry v. Yehia, 38 F Ath 1282 (10th

paperwork. Cir. 2022))
Frazier: "Unauthorized Mischaracterization (Fields v. City of
videos." Philadelphia, supra)

Bueno cools himself with AC Eighth Amendment (Wilson v. Seiter, 501 U.S.

hose. 294 (1991))

Plaintiff exits. sweating Visual proof of distress (Youngberg v. Romeo,
profusely, shirt soaked. supra)

Bueno: "Got a little sweaty Admission of conditions (Farmer v. Brennan.
back there." supra)

Plaintiff: "Trying to hot box
lhighth Amendment (//ope v. Pelzer, supra)

"

me.
Plaintiff cites Jrizarry v. Yehia. Legal awareness strengthens claim

Plaintiff: "Nobody asked me to Negates obstruction (Hiibel v. Sixth Judicial Dist.

identify." Ct., supra)
Bueno: "Get you all dried Acknowledgment of distress (Estelle v. Gamble,
up..." supra)

Footnote: All timestamps are included for completeness; bolded entries (0:33:34, 0:34:45) are
pivotal visual and verbal admissions. See Youngberg v. Romeo, 457 U.S. 307 (1982) (conditions

of confinement must not impose undue hardship).

PLEADING TITLE - 5

Case 3:24-cv-00103-ART-CLB Document 43-7 Filed 03/28/25 Page 6 of 7

LEGAL CLAIMS SUPPORTED

|. First Amendment Retaliation: Arrest for recording (Fordyce, Glik, Turner, Fields,

Irizarry; NRS 171.1233)

No

Fourth Amendment False Arrest: No probable cause (Manuel, Thompson, Hiihel: NRS

200.460, 200.310)

3. Eighth Amendment Cruel Conditions: Heat exposure (Hope, Farmer, Youngberg,
Estelle; NRS 200.481, 200.471)

4. Fourteenth Amendment Due Process: Truck towed (Mathews, Lugar v. Edmondson Oil
Co., 457 U.S. 922 (1982); NRS 205.2715, 205.220)

5. State Torts: False imprisonment, coercion, malicious prosecution (Iqbal v. Ashcroft, 556

U.S. 662 (2009); NRS 197.200, 207.190, 199.310)

QUALIFIED IMMUNITY ANALYSIS

Defendants’ actions violate clearly established law in the Ninth Circuit:

e Recording: Fordyce (1995), Glik (2011), Turner (2017), Fields (2017), Irizarry (2022)
¢ False Arrest: //iibel (2004), Manuel (2017), Thompson (2022)

¢ Conditions: Hope (2002), Farmer (1994), Estelle (1976)

PLEADING TITLE - 6

to

Case 3:24-cv-00103-ART-CLB Document 43-7 Filed 03/28/25 Page 7 of 7

Officers’ statements (e.g., “no signs’. “sweaty back there’) show knowledge of illegality.

defeating qualified immunity (Harlow v. Fitzgerald, 457 U.S. 800 (1982).

AUTHENTICATION

Under Fed. R. Evid. 901, 1002. and 28 U.S.C. § 1746, 1, Drew J. Ribar, declare under penalty
of perjury that this video from Deputy Jason Bueno’s body camera, obtained via discovery

(Case No. 22 CR 01231 1C), accurately depicts events on August 30, 2022. at NNCC.

DATED: March 27, 2025

/s/ Drew J. Ribar

Drew J. Ribar, Pro Se

3480 Pershing Ln., Washoe Valley, NV 89704

(775) 223-7899 | Const2Audit@gmail.com

PIL.EADING TITLE - 7

